                                  UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON

 In re:   James and Leslie Luster                         Case No.

                                                          CHAPTER 13 PLAN

                                                          __Original __Amended

                                 Debtor(s).                     7/13/2013
                                                          Date: ___________________



 I. Introduction:
 A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
 _____ Yes
 _____ No
 B. Means Test Result. Debtor is (check one):
 _____ a below median income debtor with a 36 month applicable commitment period
 _____ an above median income debtor with a 60 month applicable commitment period


 II. Plan Payments:
 No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor
 will commence making payments to the Trustee as follows:
      A. AMOUNT: $ ________
                         1951.00
      B. FREQUENCY (check one):
      ___Monthly
      ___Twice per month
      ___Every two weeks
      ___Weekly
      C. TAX REFUNDS: Debtor (check one): ___COMMITS; ___DOES NOT COMMIT; all tax refunds to
          funding the plan. Committed refunds shall be paid in addition to the plan payment stated above. If no
          selection is made, tax refunds are committed.
      D. PAYMENTS: Plan payments shall be deducted from the debtor’s wages unless otherwise agreed to
          by the Trustee or ordered by the Court.
      E. OTHER: _________________________________________________________________________

 III. Plan Duration:
  The plan’s length shall not be less than the debtor’s applicable commitment period as defined under 11
 U.S.C. §§ 1322(d) and 1325(b)(4) unless the plan either provides for payment in full of allowed unsecured
 claims over a shorter period or is modified post-confirmation. A below median debtor’s plan length shall
 automatically be extended up to 60 months after the first payment is due if necessary to complete the plan.

 IV. Distribution of Plan Payments:
 Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply
 them accordingly, PROVIDED THAT disbursements for domestic support obligations and federal taxes shall
 be applied according to applicable non-bankruptcy law:
     A. ADMINISTRATIVE EXPENSES:
          1. Trustee. The percentage set pursuant to 28 USC §586(e).
          2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
          3. Attorney's Fees: Pre-confirmation attorney fees and/or costs and expenses are estimated to be
          $__________.
            2100           $________
                            1000.00 was paid prior to filing. To the extent pre-confirmation fees and/or costs
          and expenses exceed $3,500, an appropriate application, including a complete breakdown of time
          and costs, shall be filed with the Court within 21 days after confirmation.
          Approved attorney compensation shall be paid as follows (check one):
              a. ____ Prior to all creditors;
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              b. ____ Monthly payments of $______;
              c ____ All remaining funds available after designated monthly payments to the following
              creditors:___________________________________________________________________.
                            Prior to All Creditors except IV. B, IV. C.1 & 2
              d. ____ Other:_____________________________________________________________.
         If no selection is made, fees will be paid after monthly payments specified in Sections IV.B and
         IV.C.

    B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed
    and allowed pursuant to 11 USC § 502(a) or court order as follows (if left blank, no payments shall be
    made by the Trustee):

                   Creditor                          Monthly amount
                   _________________                 $______
                   _________________                 $______

    C.     SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed
    pursuant to 11 USC § 502(a) or court order, as stated below. Unless ranked otherwise, payments to
    creditors will be disbursed at the same level. Secured creditors shall retain their liens until the payment
    of the underlying debt, determined under nonbankruptcy law, or discharge under 11 USC § 1328, as
    appropriate. Secured creditors, other than creditors holding long term obligations secured only by a
    security interest in real property that is the debtor’s principal residence, will be paid the principal amount
    of their claim or the value of their collateral, whichever is less, plus per annum uncompounded interest
    on that amount from the petition filing date.

    Interest rate and monthly payment in the plan control unless a creditor timely files an objection to
    confirmation. If a creditor timely files a proof of claim for an interest rate lower than that proposed in the
    plan, the claim shall be paid at the lower rate. Value of collateral stated in the proof of claim controls
    unless otherwise ordered following timely objection to claim. The unsecured portion of any claim shall
    be paid as a nonpriority unsecured claim unless entitled to priority by law.

    Only creditors holding allowed secured claims specified below will receive payment from the
    Trustee. If the interest rate is left blank, the applicable interest rate shall be 12%. If overall plan
    payments are sufficient, the Trustee may increase or decrease post-petition installments for ongoing
    mortgage payments, homeowner’s dues and/or real property tax holding accounts based on changes in
    interest rates, escrow amounts, dues and/or property taxes.

         1. Continuing Payments on Claims Secured Only by Security Interest in Debtor’s Principal
    Residence and Non-Escrowed Postpetition Property Tax Holding Account (Interest included in payments
    at contract rate, if applicable):

 Rank    Creditor                   Nature of Debt                      Property               Monthly Payment
 ____    __________________
         Clearsprings               ____________________
                                    Second Deed of Trust on Residence   __________________
                                                                        10315 Rainier Ave S    $_____________
                                                                                                287.00
 ____    __________________         ____________________                __________________     $_____________
 ____    __________________         ____________________                __________________     $_____________

        2. Continuing Payments and Non-Escrowed Postpetition Property Tax Holding Account on Claims
    Secured by Other Real Property (Per annum interest as set forth below):

                                                                                                     Interest
 Rank   Creditor      Nature of Debt                 Property                        Monthly Payment Rate
 ____   ________      _________________              _______________               _______           ___%
 ____   ________      _________________              _______________               _______           ___%
 ____   ________      _________________              _______________               _______           ___%
 ____   ________      _________________              _______________               _______           ___%

        3.   Cure Payments on Mortgage/Deed of Trust/Property Tax/Homeowner’s Dues Arrearage:

        Periodic                                                                       Arrears to be   Interest
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 Rank   Payment        Creditor                   Property                        Cured             Rate
 ____   $______
         753.00        _________________
                       Clearsprings               ____________________
                                                  10315 Rainier Ave S             $_______
                                                                                   45128.09         ___%
                                                                                                     0
 ____   $______        _________________          ____________________            $_______          ___%
 ____   $______        _________________          ____________________            $_______          ___%
 ____   $______        _________________          ____________________            $_______          ___%


        4. Payments on Claims Secured by Personal Property:

              a. 910 Collateral.
 The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money
 security interest in any motor vehicle acquired for the personal use of the debtor(s) within 910 days
 preceding the filing date of the petition or in other personal property acquired within one year preceding the
 filing date of the petition as follows. Debtor stipulates that pre-confirmation adequate protection payments
 shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is specified,
 the Trustee shall pay the amount stated as the “Equal Periodic Payment”.

      Equal                                   Description                  Pre-Confirmation
      Periodic                                of                           Adequate Protection      Interest
 Rank Payment        Creditor                 Collateral                   Payment                  Rate
 ____ $______        ______________           _________________            $_______                 ___%
 ____ $______        ______________           _________________            $_______                 ___%
 ____ $______        ______________           _________________            $_______                 ___%
 ____ $______        ______________           _________________            $_______                 ___%


              b. Non-910 Collateral.
 The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following
 timely objection to the claim, for a purchase-money security interest in personal property which is non-910
 collateral. Debtor stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee
 as specified upon the creditor filing a proof of claim. If no amount is specified, the Trustee shall pay the
 amount stated as the “Equal Periodic Payment”.

      Equal                                 Debtor(s)    Description         Pre-Confirmation
      Periodic                              Value of     of                  Adeq. Protection       Interest
 Rank Payment        Creditor               Collateral   Collateral          Payment                Rate
 ____ $______        ______________         $_______     _____________       $_______               ___%
 ____ $______        ______________         $_______     _____________       $_______               ___%
 ____ $______        ______________         $_______     _____________       $_______               ___%
 ____ $______        ______________         $_______     _____________       $_______               ___%

     D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to
     priority in the order stated in 11 USC § 507(a).

     E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments,
     the Trustee shall pay filed and allowed nonpriority unsecured claims as follows:

          1.   Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims
               prior to other nonpriority unsecured claims as follows:
                                            Amount of          Percentage     Reason for Special
     Rank        Creditor                   Claim              To be Paid     Classification
     ____        _____________              $_________         ________%      __________________
     ____        _____________              $_________         ________%      __________________

          2.   Other Nonpriority Unsecured Claims (check one):
               a. ____ 100% paid to allowed nonpriority unsecured claims. OR



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              b. ____ Debtor shall pay at least $ _______ to allowed nonpriority unsecured claims over the
              term of the plan. Debtor estimates that such creditors will receive approximately _____ % of
              their allowed claims.

 V. Secured Property Surrendered:
 The secured property described below will be surrendered to the following named creditors on confirmation.
 Upon confirmation, all creditors (including successors and assigns) to which the debtor is surrendering
 property pursuant to this section are granted relief from the automatic stay to enforce their security interest
 against the property including taking possession and sale.

          Creditor                                                                Property to be Surrendered


 VI. Executory Contracts and Leases:
 The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below.
 Assumption will be by separate motion and order, and any cure and/or continuing payments will be paid
 directly by the debtor under Section VII, unless otherwise specified in Section XII with language designating
 that payments will be made by the Trustee, the amount and frequency of the payments, the ranking level for
 such payments with regard to other creditors, the length of the term for continuing payments and the interest
 rate, if any, for cure payments. Any executory contract or unexpired lease not assumed pursuant to 11 USC §
 365(d) is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed
 and allowed unsecured claim for damages shall be paid under Section IV.E.2.

         Contract/Lease                                                           Assumed or Rejected


 VII.     Payments to be made by Debtor and not by the Trustee:
 The following claims shall be paid directly by the debtor according to the terms of the contract or support or
 withholding order, and shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

     A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic
     support obligations shall be paid directly by the debtor as follows:

 Creditor                   Current Monthly Support Obligation                        Monthly Arrearage Payment
 _____________              $_____________                                            $______________
 _____________              $_____________                                            $______________
 _____________              $_____________                                            $______________

     B. OTHER DIRECT PAYMENTS:

 Creditor                   Nature of Debt                                     Amount of Claim       Monthly Payment
 _____________
 PNC Mortgage               _____________________
                            First Deed of Trust on Residence on Ranier Ave S   $_____________
                                                                                1898.00              $______________
                                                                                                      201367
 _____________
 PNC Mortgage               _____________________
                            First Deed of Trust on Rental at 55th Ave S        $_____________
                                                                                1823.00              $______________
                                                                                                      296256
 _____________
 Select Portfolio           _____________________
                            First Deed of Trust on Rental on 47th Ave S        $_____________
                                                                                1821.00              $______________
                                                                                                      343491.00

 VIII. Property of the Estate
 Property of the estate is defined in 11 USC § 1306(a). Unless otherwise ordered by the Court, property of the
 estate in possession of the debtor on the petition date shall vest in the debtor upon confirmation. However,
 the debtor shall not lease, sell, encumber, transfer or otherwise dispose of any interest in real property or
 personal property without the Court’s prior approval, except that the debtor may dispose of unencumbered
 personal property with a value of $10,000.00 or less without the Court’s approval. Property (including, but
 not limited to, bonuses, inheritances, tax refunds or any claim) acquired by the debtor post-petition shall vest
 in the Trustee and be property of the estate. The debtor shall promptly notify the Trustee if the debtor
 becomes entitled to receive a distribution of money or other property (including, but not limited to, bonuses,
 inheritances, tax refunds or any claim) whose value exceeds $2,500.00, unless the plan elsewhere specifically
 provides for the debtor to retain the money or property.



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 IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
 The liquidation value of the estate is $_______.
                                           130937     In order to obtain a discharge, the debtor must pay the
 liquidation value or the total of allowed priority and nonpriority unsecured claims, whichever is less. Under
 11 USC §§ 1325(a)(4) and 726(a)(5), interest on allowed unsecured claims under Section IV.D and IV.E shall
 be paid at the rate of ______%
                         0.64     per annum from the petition filing date (no interest shall be paid if left blank).

 X. Other Plan Provisions:
    A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and
    priority unsecured creditors are paid in full, provided that no claim shall be paid before it is due.
    B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured
    creditor are current, subject to the creditor’s rights under state law if the case is dismissed.
    C. The holder of a secured claim shall file and serve on the Trustee, debtor and debtor’s counsel a notice
    itemizing all fees, expenses or charges (1) that were incurred in connection with the claim after the
    bankruptcy case was filed , and (2) that the holder asserts are recoverable against the debtor or the
    debtor’s principal residence. The notice shall be served within 180 days after the date on which the fees,
    expenses or charges are incurred, per Fed. R. Bankr. P. 3002.1(c).
    D. Mortgage creditors shall file and serve on the Trustee, debtor and debtor’s counsel a notice of any
    change in the regular monthly payment amount, including any change that results from an interest rate or
    escrow adjustment, no later than 21 days before a payment in the new amount is due, per Fed. R. Bankr.
    P. 3002.1(b).
    E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other
    information provided in this section shall not be a violation of the 11 USC § 362 automatic stay or of
    privacy laws.



 XI. Certification:
     A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the
     date of this plan and will be paid in full at the time of the confirmation hearing. Debtor acknowledges
     that timely payment of such post-petition Domestic Support Obligations is a condition of plan
     confirmation pursuant to 11 USC § 1325(a)(8).
     B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not
     alter the provisions of Local Bankruptcy Form 13-4, except as provided in Section XII below. Any
     revisions to the form plan not set forth in Section XII shall not be effective.

 XII.     Additional Case-Specific Provisions: (must be separately numbered)




 /s/ Kathleen Box
 _______________________                  /s/ Leslie Luster 0099                        7/13/2016
                                          _____________________________________________________
 Attorney for Debtor(s)                   DEBTOR              Last 4 digits SS#            Date

 4/20/2016
 _______________________                  /s/ James Luster 8562                          7/13/2016
                                          _____________________________________________________
 Date                                     DEBTOR              Last 4 digits SS#            Date




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